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                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA


RALPH “TREY” JOHNSON,
STEPHANIE KERKELES,                                    Case No. 2:19-cv-5230 (JP)
CLAUDIA RUIZ,
JACOB WILLEBEEK-LEMAIR,
ALEXA COOKE,
RHESA FOSTER,                                                    BRIEF
ZACHARY HARRIS,                                      IN SUPPORT OF DEFENDANT
MATTHEW SCHMIDT,                                 UNIVERSITY OF ARIZONA’S MOTION
TAMARA SCHOEN STATMAN,                             TO DISMISS PLAINTIFFS’ THIRD
GINA SNYDER, ESTEBAN SUAREZ; and                    AMENDED COMPLAINT, WITH
LIAM WALSH,                                       PREJUDICE, PURSUANT TO RULES
individually and on behalf of all persons        12(B)(1) AND 12(B)(6) AND NOTICE OF
similarly situated,                                  JOINDER IN BRIEF FILED BY
                                                 NATIONAL COLLEGIATE ATHLETIC
               Plaintiffs,                                  ASSOCIATION

       v.

NATIONAL COLLEGIATE ATHLETIC
ASSOCIATION, a/k/a the NCAA, and the
following NCAA Division I Member Schools
as representatives of a Defendant Class of all
private and semi-public NCAA Division I
Member Schools:

CORNELL UNIVERSITY,
FORDHAM UNIVERSITY,
LAFAYETTE COLLEGE,
SACRED HEART UNIVERSITY,
VILLANOVA UNIVERSITY,
UNIVERSITY OF OREGON,
TULANE UNIVERSITY,
UNIVERSITY OF NOTRE DAME,
UNIVERSITY OF ARIZONA,
PURDUE UNIVERSITY,
DUKE UNIVERSITY, and
MARIST UNIVERSITY,

               Defendants.
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       This is Plaintiffs’ third attempt to state a viable wage claim against the National Collegiate

Athletic Association (“NCAA”) and a random selection of Division I member schools that they

claim were the employers of student athletes. Plaintiffs’ efforts are in vain, again.

       Plaintiffs filed an Eighteen-Count Third Amended Complaint (“TAC”) against Defendant

University of Arizona (“UoA” or “Arizona-based Defendant”) and multiple other NCAA Division

I member schools alleging violations of the Fair Labor Standards Act, 29 U.S.C. §§ 201 et seq.

(“FLSA”) (Count I), Arizona Minimum Wage Act (“AMWA”) (Count XV), and Unjust

Enrichment (Count XVI) as to UoA specifically. The claims pursued against UoA are raised by

Plaintiffs Tamara Schoen (“Plaintiff Schoen”) and Gina Snyder (“Plaintiff Snyder”), who attended

UoA and played on the softball team between 2015 and June 2019. UoA joins in the brief

submitted by the NCAA and writes separately to raise additional defenses available to it.

       Plaintiffs’ claims against UoA fail for three reasons. First, UoA is protected by Eleventh

Amendment sovereign immunity from private claims brought against it for alleged violations of

the FLSA. Because Congress has not abrogated this immunity, Arizona has not waived this

immunity, and Plaintiffs do not seek to enjoin the actions of an individual state official, Count I

fails as a matter of law as to UoA.

       Second, Plaintiffs’ AMWA and Unjust Enrichment claims are barred because Plaintiffs

failed to file or serve the statutorily required notice of claim against UoA and the claim was filed

outside the statutory limitations period. For these reasons, Counts XV and XVI of the TAC should

be dismissed as a matter of law.

       Third, Plaintiffs have failed to sufficiently plead an AMWA claim because UoA is not a

statutory “employer” and, for that reason, is not liable under the AMWA.

       The TAC should be dismissed with prejudice and without leave to amend because any



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proposed amendment would be futile. Accordingly, Counts I, XV, and XVI of the TAC must be

dismissed, with prejudice, as to UoA.

                                         STATEMENT OF FACTS1

         Plaintiff Schoen is a former University of Arizona softball player who played for UoA’s

team between 2015 and 2019. (See TAC at ¶ 31). Plaintiff Snyder also played for UoA’s softball

team between 2017 and 2019. (Id. at ¶ 32). UoA is a Division I member of the NCAA. It is

located in Tucson, Arizona. (Id. at ¶ 35).

         Plaintiffs allege, during their time as student-athletes at UoA, UoA received and benefitted

from their uncompensated labors.              Plaintiffs allege their collegiate educational and athletic

experiences constitute employment by UoA for which they were not paid. As alleged employees

of UoA and not just students, Plaintiffs assert they are entitled to the full amount of the alleged

unpaid minimum wages, plus an additional equal amount as liquidated damages, attorneys’ fees

and costs, and other relief.

         Plaintiffs also attempt to define a class as to other UoA student-athletes for purposes of

their AMWA and Unjust Enrichment claims. (Id. at ¶ 529). Plaintiffs also attempt to loosely join

a group of separate educational institutions as Defendants, together with the NCAA, apparently

because they share a single thing: the educational institutions are members of the NCAA. Plaintiffs

make no meaningful effort to connect UoA to the other NCAA member schools named as

Defendants in this matter. Indeed, Plaintiffs do not allege that Defendants have any connection to

one another or that they together are joint employers. Plaintiffs’ inclusion of so many named

Defendants—despite their non-affiliation—is an obvious attempt to soapbox on this alleged


1
  The following facts are taken directly from Plaintiffs’ Third Amended Complaint and shall be considered true for
purposes of this motion only. Toys ‘R’ Us, Inc. v. Step Two, S.A., 318 F.3d 446, 457 (3d Cir. 2003). UoA reserves the
right to contest the truth of each and every allegation (factual or otherwise) contained in the Third Amended Complaint
should this motion be denied.

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dispute.

                                       LEGAL ARGUMENT
                               POINT I
   PLAINTIFFS’ FLSA CLAIM AGAINST UoA IS BARRED BY THE DOCTRINE OF
                         SOVEREIGN IMMUNITY.

         Count I of Plaintiffs’ TAC asserts an FLSA claim against UoA for allegedly not

compensating Plaintiffs the legally required minimum wage for all hours “worked” during their

time as student-athletes. (TAC, ¶ 330). Count I must be dismissed under Rule 12(b)(1) for lack

of jurisdiction because UoA is protected by Eleventh Amendment immunity from suits in federal

court.

    A. UoA enjoys sovereign immunity as an “arm of the state.”

         The Eleventh Amendment to the United States Constitution precludes suits against a state,

an arm of the state, its instrumentalities, and its agencies in federal court, regardless of the type of

relief sought. Kentucky v. Graham, 473 U.S. 159, 165-67 (1985); Pennhurst State School &

Hospital v. Halderman, 465 U.S. 89 (1984).

         It is well settled that public universities like UoA and the Arizona Board of Regents

(“ABOR”), which is the governing body for Arizona’s public universities (and is the legal entity

sued here, see TAC, first footnote), are arms of the state. Therefore, UoA and ABOR are entitled

to the same Eleventh Amendment immunity the State of Arizona enjoys. Ariz. Students’ Ass’n v.

Ariz. Bd. of Regents, 824 F.3d 858, 864 (9th Cir. 2016) (“We have previously held that ABOR is

an arm of the State of Arizona for Eleventh Amendment purposes.”); Ansel Adams Publ’g Rights

Tr. V. PRS Media Partners, Ltd. Liab. Co., 502 F. App’x 659, 660-61 (9th Cir. 2012) (“The Ninth

Circuit already determined that [ABOR] is entitled to immunity as a matter of law . . . .”); Ronwin

v. Shapiro, 657 F.2d 1071, 1073 (9th Cir. 1981) (“[W]e conclude that [ABOR] is protected by the

[E]leventh [A]mendment.”); Aych v. Univ. of Ariz., 2024 U.S. Dist. LEXIS 118455, at *9 (C.D.
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Cal. July 5, 2024); Wanmei Ni v. Univ. of Ariz., 2016 U.S. Dist. LEXIS 189566, at *4 (D. Ariz.

Mar. 14, 2016) (“Therefore, to the extent that Eleventh Amendment sovereign immunity applies

to the State of Arizona, it would apply equally to the University of Arizona and the Arizona Board

of Regents.”).

       As relevant here, courts in the Ninth Circuit have found that Eleventh Amendment

immunity applies to claims for alleged wage violations under federal law – the very claims at issue

here. Ramirez v. Ariz. State Treasurer, 2018 U.S. Dist. LEXIS 176461, at *2-3 (D. Ariz. June 20,

2018). In fact, courts have found that the state of Arizona and ABOR specifically are entitled to

sovereign immunity for FLSA claims. See, e.g., Gorney v. Ariz. Bd. of Regents, 43 F. Supp. 3d

946, 951-52 (D. Ariz. 2014) (finding that ABOR was entitled to sovereign immunity on the

plaintiff’s FLSA claim); Redgrave v. Ducey, 2018 U.S. Dist. LEXIS 174963, at *6 (D. Ariz. Oct.

10, 2018)(finding that Arizona was entitled to broad sovereign immunity against FLSA claims).

       In sum, pursuant to well-settled precedent, the Eleventh Amendment bars suits that seek

relief against a state, an “arm of the state,” its instrumentalities, or its agencies. Ansel Adams

Publ'g Rts. Tr. v. PRS Media Partners, LLC, 502 F. App’x 659, 660 (9th Cir. 2012). Courts in the

Ninth Circuit have repeatedly held that UoA and its governing body, ABOR, are an arm of the

state for Eleventh Amendment purposes. Ariz. Students’ Ass’n v. Ariz. Bd. of Regents, 824 F.3d

858, 864-65 (9th Cir. 2016); Ansel Adams, 502 F. App’x at 661 (“The Ninth Circuit already

determined that [ABOR] is entitled to immunity as a matter of law . . . .”); Ronwin v. Shapiro, 657

F.2d 1071, 1073 (9th Cir. 1981)(“[W]e conclude that [ABOR] is protected by the [E]leventh

[A]mendment.”).




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   B. UoA is entitled to sovereign immunity under the Third Circuit’s Fitchik test.

       Like the Ninth Circuit, Third Circuit precedent confirms that institutions of higher

education are entitled to immunity under the Eleventh Amendment because institutions of higher

education are, indeed, an arm of the state. See, e.g., Skehan v. Bd. of Trs. Of Bloomsburg State

Coll., 1986 U.S. Dist. LEXIS 22650, at *13 (E.D. Pa July 17, 1986) (en banc) (Skehan I), cert.

denied, 429 U.S. 979 (1976) (Bloomsburg College is an arm of the state); Skehan v. State Sys. Of

Higher Educ., 815 F. 2d 244, 249 (3d Cir. 1987) (Eleventh Amendment also shields PA’s state

system of higher education); Bowers v. NCAA, 475 F. 3d 524, 528 (3d Cir. 2007) (University of

Iowa is an arm of the state entitled to Eleventh Amendment immunity).

       In determining whether an institution of higher education is an arm of the state for Eleventh

Amendment purposes, the Third Circuit employs a fact-intensive, three-step balancing test known

as the Fitchik factors. Maliandi v. Montclair State Univ., 845 F.3d 77, 84-85 (3d Cir. 2016). Under

this analysis, courts weigh (1) the funding factor: whether the state treasury is legally responsible

for an adverse judgment entered against the alleged arm of the State; (2) the status under state law

factor: whether the entity is treated as an arm of the State under state case law and statutes; and (3)

the autonomy factor: whether, based largely on the structure of its internal governance, the entity

retains significant autonomy from state control. Fitchik v. New Jersey Transit Rail Operations,

Inc., 873 F.2d 655, 659 (3d Cir. 1989). All three Fitchik factors are weighed equally and “case

law from [ ] Sister Circuits is [ ] illuminating” to the Court’s analysis. Benn v. First Judicial Dist.

of Pa., 426 F.3d 233, 239-40 (3d Cir. 2005); see also Maliandi, 845 F.3d at 84.

       1. UoA is entitled to immunity because funding for any adverse judgment would
          come from the State.

       The funding factor hinges on “[w]hether the money that would pay [a] judgment [against

the entity] would come from the state.” Fitchik, 873 F.2d at 659. Arizona has enacted a

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comprehensive scheme of risk management that includes provisions for payment

of judgments obtained against the state and its departments, agencies, boards, and commissions.

Ariz. Rev. Stat. Ann. § 41-621 A.3 (1980). This issue was specifically addressed in Ronwin v.

Shapiro, where the Ninth Circuit found “the state would have to pay any judgment against the

board of regents.” Ronwin v. Shapiro, 1981 U.S. App. LEXIS 17217 (9th Cir. 1981). Judgments

are satisfied through Arizona’s permanent liability loss revolving fund as provided in A.R.S. §41-

622. Accordingly, this factor tips in favor of immunity.

       2. UoA is entitled to immunity because it is treated as an arm of the state under
          controlling precedent.

       The Third Circuit’s analysis takes into consideration precedent from other jurisdictions.

As discussed herein, it is well settled in Arizona that public universities like UoA and its governing

body, ABOR, are arms of the state. Accordingly, UoA and ABOR are entitled to the same

Eleventh Amendment immunity the State of Arizona enjoys. Ariz. Students’ Ass’n v. Ariz. Bd. of

Regents, 824 F.3d 858, 864 (9th Cir. 2016) (“We have previously held that ABOR is an arm of the

State of Arizona for Eleventh Amendment purposes.”); Ansel Adams Publ’g Rights Tr. V. PRS

Media Partners, Ltd. Liab. Co., 502 F. App’x 659, 660-61 (9th Cir. 2012) (“The Ninth Circuit

already determined that [ABOR] is entitled to immunity as a matter of law . . . .”); Ronwin v.

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Mar. 14, 2016) (“Therefore, to the extent that Eleventh Amendment sovereign immunity applies

to the State of Arizona, it would apply equally to the University of Arizona and the Arizona Board

of Regents.”); Bd. of Regents of Univs. & State Coll. v. City of Tempe, 356 P.2d 399 (Ariz. 1960)

(The Supreme Court of Arizona recognizes ABOR as the “state.”).

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       Arizona’s consistent application of Eleventh Amendment immunity to ABOR tips the

Fitchik factors heavily in favor of granting immunity in the present matter. In fact, where, as here,

an institution of higher education was consistently treated as an arm of the state, courts in the Third

Circuit have not even looked to the other Fitchik factors, finding that Eleventh Amendment

immunity applies without further consideration. Polanco v. Omnicell, Inc., 988 F. Supp. 2d 451,

461 n.9 (D.N.J. 2013) (holding the Board of Regents of the University of Michigan is an arm of

the State of Michigan and as such it is entitled to Eleventh Amendment immunity from suit in

federal court.); Bartlett v. Kutztown Univ., No. 13-4331, 2015 U.S. Dist. LEXIS 21665, at *11-13

(E.D. Pa. Feb. 23, 2015) (“The Third Circuit and district courts within the Circuit have consistently

held that PASSHE and its member universities are entitled to sovereign immunity under the

Eleventh Amendment.”); Skehan v. State Sys. of Higher Educ., 815 F.2d 244, 249 (3d Cir. 1987)

(“The state university system, PASSHE, is one of these instrumentalities entitled to state sovereign

immunity.”).

       3. UoA is entitled to immunity because it does not have complete autonomy under
          Arizona law.

       The final Fitchik factor focuses on the entity’s governing structure and the oversight and

control exerted by a state’s governor and legislature – the more oversight and control that are

exerted means it is more likely that the entity is entitled to immunity. Fitchik, 873 F.2d at 663-64.

This case is comparable to Bowers, in which the Third Circuit granted sovereign immunity to the

University of Iowa. Here, like there, ABOR is “tightly constrained by state authority.” Bowers,

475 F.3d at 548-49.

       ABOR, a non-autonomous entity, is the governing board for the state’s public universities

consisting of twelve members, including the governor and superintendent of public instruction

who serve as ex-officio members. See Maliandi, 845 F.3d at 77 (focusing on the Governor’s

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oversight of the relevant university). For example, every board member is appointed by the

governor and confirmed by the Senate for eight-year terms pursuant to A.R.S. § 38-211. If the

Senate rejects the governor’s nomination, the nominee shall not be appointed, and the governor

shall promptly nominate another person who meets the requirements of ABOR. Id.

       ABOR is also constrained by the State with respect to budget and other matters of internal

governance. For example, it is required to comply with the State’s budget appropriations and all

state laws and regulations and to submit to a strict reporting schedule to the governor outlined in

detail in Chapter 13, Article 2 of Arizona Revised Statutes, §§15-1621 through 15-1650.06. It

must regularly submit reports related to enrollment, retention, and graduation rates, the amount of

tuition and fees included in the operating budget for each university under ABOR’s purview,

university debt and obligations, financial aid, and other matters relevant to the management of the

institution. A.R.S. § 15-1626(A)(5) and (21); A.R.S. § 15-1626(K); A.R.S. § 15-1629; A.R.S. §

15-1650. ABOR is also required to submit a budget request for each institution under its

jurisdiction. A.R.S. §35-115. ABOR’s significant reporting requirements and rules for internal

governance support just how constrained ABOR is by Arizona law. In fact, ABOR is prohibited

from recognizing or bargaining with a union and each Board member’s compensation is set by the

Arizona legislature. Ariz. Const. art. 11, §§ 1, 2, and 5; see also A.R.S. § 15-1623 and A.R.S. §

15-162.

       This third and final Fitchik factor points strongly in favor of extending immunity to UoA

and ABOR.

   C. None of the limited exceptions to Eleventh Amendment immunity apply.

       “Eleventh Amendment immunity is subject to three exceptions: 1) congressional

abrogation, 2) state waiver, and 3) suits against individual state officers for prospective relief to



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end an ongoing violation of federal law.” Polanco v. Omnicell, Inc., 988 F. Supp. 2d 451, 461

(D.N.J. 2013) (citing MCI Telecommunication Corp. v. Bell Atlantic Pennsylvania, 271 F.3d 491,

503 (3d Cir. 2001)). None of these exceptions are present in this action.

               i.      Congressional abrogation is absent.

       The abrogation doctrine of the United States Constitution expounds when and how

Congress may waive a state’s sovereign immunity and subject it to lawsuits to which the state has

not explicitly consented. To determine whether Congress has abrogated the states’ sovereign

immunity requires asking two questions: first, whether Congress has unequivocally expressed its

intent to abrogate immunity, and, if it did, then asking whether Congress has acted pursuant to a

valid exercise of power. Seminole Tribe v. Florida, 517 U.S. 44, 47 (1996); Scott v. Pa. Dep’t of

Pub. Welfare, 2003 U.S. Dist. LEXIS 18081, at *1 (E.D. Pa. Aug. 28, 2003) (This immunity,

however, may be abrogated by Congress only if it has unequivocally expressed its intent to do so

and acted pursuant to a valid exercise of power.). District courts in the Ninth Circuit have already

concluded that Congress did not abrogate private suits under the FLSA against the State of Arizona

or other entities considered “arms of the state.” See, e.g., Gorney, 43 F. Supp. 3d at 951-52

(Congress has not validly abrogated the State’s sovereign immunity on FLSA claims). As such,

because there is no Congressional activity to consider, an analysis of the second factor, whether

Congress’s action was valid is moot. Accordingly, Plaintiffs cannot assert this exception to UoA’s

sovereign immunity to FLSA claims.

               ii.     Arizona has not abrogated sovereign immunity for FLSA claims.

       The state of Arizona has not waived its immunity to suit either. The “test for determining

whether a state has waived its immunity from federal-court jurisdiction is a stringent one”: “[a]

State’s consent to suit must be unequivocally expressed in the text of the relevant statute.”



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Sossamon v. Texas, 563 U.S. 277, 284 (2011) (citations omitted).

       There can be no dispute that the Arizona Legislature has not passed any

law explicitly consenting to private claims under the FLSA. Stated differently, the Arizona

legislature has not provided any statutory waiver of immunity. Ramirez v. Ariz. State Treasurer,

2018 U.S. Dist. LEXIS 176461, at *2-3 (D. Ariz. June 20, 2018).           Courts have routinely

acknowledged this point. For example, in Redgrave, 2018 U.S. Dist. LEXIS 174963, at *5-6, the

court concluded that the plaintiff could not identify any statute or judicial decision that waived

Arizona’s sovereign immunity for FLSA claims.          “To the contrary, state defendants have

successfully asserted sovereign immunity against FLSA claims before this Court.” Id. (citing

Gorney v. Ariz. Bd. Of Regents, 43 F. Supp. 3d 946, 951-52 (D. Ariz. 2014)). “The Court therefore

finds that Arizona has not abrogated its sovereign immunity against FLSA claims.” Id.

       Plaintiffs do not and cannot allege there was any voluntary relinquishment of UoA or

ABOR’s sovereign immunity by Arizona. As such, UoA and ABOR have not waived Eleventh

Amendment immunity for the FLSA claim.

               iii.    Plaintiffs do not name an individual state official defendant.

       Finally, Plaintiffs are not seeking to enjoin a state official from engaging in alleged

improper future conduct—indeed, no individual state officials are named in the TAC— effectively

eliminating this final exception as an option.

       Accordingly, Plaintiffs’ claim under the FLSA in Count I of the TAC against UoA must

be dismissed under Rule 12(b)(1) for lack of jurisdiction. Once the FLSA claims are dismissed,

this Court must decline to exercise supplemental jurisdiction over the remaining Arizona state law

claims against UoA and dismiss those claims. See 28 U.S.C. § 1367; Markowitz v. Northeast Land

Co., 906 F.2d 100, 106 (3d Cir. 1990); Hedges v. Musco, 204 F.3d 109, 123 (3d Cir. 2000).



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                                             POINT II
PLAINTIFFS’ AMWA AND UNJUST ENRICHMENT CLAIMS MUST BE DISMISSED.

       Count XV of Plaintiffs’ TAC alleges Plaintiffs Schoen and Snyder were the victims of

violations of the AMWA for failure to pay the prevailing minimum wage. (TAC ¶ 541). Next, in

Count XVI, Plaintiffs allege UoA received and benefitted from their uncompensated labors rising

to the level of Unjust Enrichment. (TAC ¶ 698). Both claims are barred as a matter of law for two

independent reasons: Plaintiffs failed to file a notice of claim and their claims are time barred.

Either reason is a basis to dismiss both state law claims.

   A. Plaintiffs Failed to File Notice of Claim.

       Arizona imposes specific limits as to when and how a person can pursue a claim against

UoA. Under A.R.S. § 12-821.01(A), any “persons who have claims against a public entity, public

school or a public employee shall file claims with the person or persons authorized to accept

service for the public entity, public school or public employee as set forth in the Arizona rules of

civil procedure within one hundred eighty days after the cause of action accrues.” Notices of claim

against the State must be filed with the Arizona Board of Regents. Ariz. R. Civ. P. 4.1(h)(4). If a

plaintiff fails to file a notice of claim, this failing is an insurmountable bar to pursuing a claim.

A.R.S. § 12-821.01.A; Deer Valley Unified Sch. Dist. No. 97 v. Houser, 152 P.3d 490, 492 (Ariz.

2007) (“Any claim which is not filed within one hundred eighty days after the cause of action

accrues is barred and no action may be maintained thereon.”); Falcon ex rel Sandoval v. Maricopa

Cty., 144 P.3d 1254, 1256 (Ariz. 2006)(quoting Martineau v. Maricopa County, 207 Ariz. 332,

335-36, (Ariz. Ct. App. 2004)) (“Actual notice and substantial compliance do not excuse failure

to comply with the statutory requirements of A.R.S. § 12-821.01(A).”).

       Plaintiffs do not, because they cannot, allege that they filed a notice of claim, much less

that they did so within 180 days after the cause of action accrued. Accordingly, for this reason
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alone, both Counts XV and XVI for AMWA violations and Unjust Enrichment respectively must

be dismissed with prejudice.

   B. Counts XV and XVI are time barred.

       Next, even if Plaintiffs did properly serve the required notice of claim, which they did not,

a one-year limitations period applies to claims pursued against public entities. See Redhair v.

Kinerk, Beal, Schmidt, Dyer & Sethi, 183 P.3d 544, 550 (Ariz. Ct. App. 2008). “All actions

[arising under state law] against any public entity or public employee shall be brought within one

year after the cause of action accrues and not afterward.” A.R.S. § 12-821 (emphasis added). A

cause of action accrues when the plaintiff “discovers or by the exercise of reasonable diligence

should have discovered that he or she has been injured by the defendant’s negligent conduct.”

Anson v. Am. Motors Corp., 747 P.2d 581, 584 (Ariz. Ct. App. 1987).

       Plaintiffs allege they performed work for which they were not compensated between 2015

and 2019. TAC, ¶¶ 31, 32. But Plaintiffs did not initiate this action until November 2021, almost

two and a half years after their graduation and final game. Consequently, the statutory one-year

window has closed, and Plaintiffs’ claims for AMWA and unjust enrichment are time barred.

       Plaintiffs cannot cure either of these fatal errors – failing to file a notice of claim or filing

outside the one-year limitations period. Accordingly, Count XV and XVI should be dismissed and

they should be dismissed with prejudice.

                                             POINT III
                           AMWA CLAIM MUST BE DISMISSED
       Even if Plaintiffs had filed the requisite notice or their claim was timely (and neither is

true), Plaintiffs’ AMWA claim fails for another reason: UoA and ABOR are not “employers”

under the statute.

       To state a claim under the AMWA, a plaintiff must allege that the defendant is an


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“employer” under the statute, the plaintiff must be a qualified employee, and “the plaintiff must

allege that she was not paid the applicable minimum wage for hours worked.” Coe v. Hirsch, 2021

U.S. Dist. LEXIS 230151, at *2 (D. Ariz. Dec. 1, 2021) (citing Ariz. Rev. Stat. Ann. § 23-363. See

also Nichol v. On Point Solar Power LLC, 2022 U.S. Dist. LEXIS 106974, at *3 (D. Ariz. June

15, 2022)).

       The AMWA broadly defines an “employer” but specifically exempts from this definition

“the state of Arizona, the United States, or a small business.” Ariz. Rev. Stat. § 23-362(B).

                       Employer includes any corporation, proprietorship,
                       partnership, joint venture, limited liability company, trust,
                       association, political subdivision of the state, individual or
                       other entity acting directly or indirectly in the interest of an
                       employer in relation to an employee, but does not include
                       the state of Arizona, the United States, or a small business.

Ariz. Rev. Stat. § 23-362(B) (emphasis added).

       The Arizona Supreme Court has confirmed that ABOR is considered the state of Arizona.

Bd. of Regents of Univs. & State Coll. v. City of Tempe, 356 P.2d 399 (Ariz. 1960) (“We think it

perfectly clear . . . that the Board of Regents may, for all purposes, be classified as a public agency

of the State rather than a private corporation.”); see also State v. Miser, 72 P.2d 408, 413 (Ariz.

1937)(the University comes within the term, “state,” as used in the Minimum Wage Law.);

Rutledge v. Ariz. Bd. of Regents, 660 F.2d 1345, 1349 (9th Cir. 1981) (ABOR is “treated as the

State of Arizona under Arizona Law.”); see also Zamora v. Ariz. Bd. of Regents, 2023 U.S. Dist.

LEXIS 118300, at *8 (D. Ariz. July 7, 2023)(dismissing with prejudice the plaintiff’s ADA and

ADAAA claims against ABOR).

       Accordingly, UoA and ABOR is not an employer as defined by the AMWA and, thus,

cannot be liable under the statute. The claims against UoA and ABOR should be dismissed. See,

e.g., Robinson v. Beyond Food LLC, 2023 U.S. Dist. LEXIS 207754, at *8 (D. Ariz. Nov. 16,

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 2023).

                                           CONCLUSION

          For the reasons set forth herein, Counts I, XV, and XVI, must be dismissed, with prejudice,

 as to UoA, as a matter of law pursuant to Rule 12(b)(1) and Rule 12(b)(6) of the Rules of Civil

 Procedure.




Date: March 24, 2025                                   Respectfully submitted,

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